                            Case 1:07-cr-00192-AWI Document 77 Filed 08/31/07 Page 1 of 1



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                 3
                       Attorney f o r Defendant
                 4     DAVID CHAVEZ, J R .




                                                      UNITED STATES DISTRICT COURT

                                                    EASTERN DISTRICT OF CALIFORNIA



                            NITED STATES OF AMERICA,

                                        Plaintiff,                            CR 07-192 AWI

                13             v.
                                                                              STIPULATION AND PROPOSED
                14      DAVID CHAVEZ, J R . ,                                 ORDER TO ALLOW REFINANCING

                15                      Defendant.
                                                                   I

                16

                17             THE PARTIES HEREBY STIPULATE AND AGREE t h a t t h e S u b o r d i n a -


                       Il
                18 t i o n Agreement,             a t t a c h e d a s E x h i b i t A, may b e e x e c u t e d b y t h e


                       I1
                19 C l e r k o f t h e C o u r t t o a l l o w t h e p r o p e r t y s e c u r i n g b a i l i n t h i s

                20 ( l m a t t e r t o b e r e f i n a n c e d .


                21     1        The p a r t i e s a r e s a t i s f i e d t h a t t h e r e i s s u b s t a n t i a l e q u i t y

                22 ((in t h e p r o p e r t y t o p r o t e c t t h e C o u r t ' s l i e n .


                23
                24
                       1        Dated:

                     / s / KATHLEEN SERVATIUS
                                             August 9, 2007

                                                                                    / s / J . TONY SERRA
                    KATHLEEN SERVATIUS                                            J . TONY SERRA
                2 5 A s s i s t a n t U.S. A t t o r n e y                        Attorney f o r Defendant

                                IT IS SO ORDERED.
                27
LAW OFFICES                                                                       W.
                                                                          A N ~ N Y      ISHII, Judge
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